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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                  ------------------

UNITED STATES OF AMERICA,

                       Plaintiff,                    No. 1:06-CR-298

               vs.                                   Hon. Gordon J. Quist

SANTIAGO PEDRO GARCIA, JR.,

                  Defendant.
______________________________/

             FINAL ORDER OF FORFEITURE AS TO $30,000 IN LIEU OF
            REAL PROPERTY 7907 MILE NORTH ROAD, PENITAS, TEXAS

       WHEREAS on October 22, 2007, this Court entered a Preliminary Order of Forfeiture as

to the forfeiture of Defendant’s interest in the real property commonly known as 7907 Mile

North Road, Penitas, Texas, together with all improvements, fixtures and appurtenances thereon;

       WHEREAS, this Court has found the requisite nexus between the crime committed by

the Defendant and the property subject to forfeiture; and

       WHEREAS, a settlement agreement was filed and agreed the United States would forfeit

$30,000 in lieu of the real property;

       NOW THEREFORE, IT IS HEREBY ORDERED that the $30,000 currency is hereby

forfeited to the United States of America pursuant to pursuant to 21 U.S.C. § 853.

       IT IS FURTHER ORDERED that all right, title and interest to the currency, is hereby

condemned, forfeited and vested in the United States of America, and shall be disposed by the

United States Marshals Service, according to applicable law and regulations;
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       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order; and

SO ORDERED:



                                                      /s/ Gordon J. Quist
                                                     ____________________________
                5 2008
Dated: February ___,                                 GORDON J. QUIST
                                                     United States District Judge




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